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12                                                  Ultimate Fighting Championship and UFC
13

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15                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
16

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      Cung Le, Nathan Quarry, Jon Fitch,    Case No.: 2:15-cv-01045-RFB-(BNW)
18    Brandon Vera, Luis Javier Vazquez,
      and Kyle Kingsbury on behalf of       DECLARATION OF WILLIAM A.
19
      themselves and all others similarly   ISAACSON IN SUPPORT OF
20    situated,                             ZUFFA, LLC’S RENEWED
                                            MOTIONS TO EXCLUDE THE
21                Plaintiffs,               TESTIMONY OF PLAINTIFFS’
      v.                                    EXPERTS DR. HAL J. SINGER, DR.
22                                          ANDREW ZIMBALIST, AND GUY
      Zuffa, LLC, d/b/a Ultimate Fighting   A. DAVIS
23    Championship and UFC,
24

25                Defendant.

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      ISAACSON DECL. ISO ZUFFA’S REN. MOTIONS           Case No.: 2:15-cv-01045-RFB-(BNW)
      TO EXCLUDE PLAINTIFFS’ EXPERTS
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1            I, William A. Isaacson, declare as follows:
2            1.      I am a member in good standing of the bar of the District of Columbia. I am
3     admitted pro hac vice to practice before this Court. I am a Partner in the law firm Paul, Weiss,
4     Rifkind, Wharton & Garrison LLP, counsel for Zuffa, LLC (“Zuffa”), in the above-captioned
5     action in the U.S. District Court for the District of Nevada, Le et al. v. Zuffa, LLC, No. 2:15-cv-
6     01045-RFB-(BNW).
7            2.      I make this declaration in support of Zuffa’s Defendant Zuffa, LLC’s Renewed
8     Motion to Exclude the Testimony of Plaintiffs’ Expert Guy A. Davis, Renewed Motion to Exclude
9     the Testimony of Dr. Andrew Zimbalist, and Renewed Motion To Exclude Certain Opinions of
10    Dr. Hal J. Singer (the “Motions”).
11           3.      Based on my review of the files, records, and communications in this case, I have
12    personal knowledge of the facts set forth in this Declaration and, if called to testify, could and
13    would testify competently to those facts under oath.
14           4.      Certain documents attached to this Declaration have had red boxes or yellow
15    highlighting added to them. These markings are intended to indicate materials cited in the Motions
16    referenced above. The true and correct copies of materials attached to this Declaration are subject
17    to the addition of those markings. They are otherwise unmodified unless otherwise stated.
18           5.      Attached as Exhibit 1 is a true and correct copy of the expert opening report of Guy
19    A. Davis, dated August 31, 2017, redacted to remove personal identifiable information.
20           6.      Attached as Exhibit 2 is a true and correct copy of excerpted pages from the
21    transcript of the first deposition of Guy A. Davis, dated September 19, 2017.
22           7.      Attached as Exhibit 3 is a true and correct copy of the expert “rebuttal” report of
23    Guy A. Davis, dated January 12, 2018, redacted to remove personal identifiable information.
24           8.      Attached as Exhibit 4 is a true and correct copy of excerpted pages from the
25    transcript of the second deposition of Guy A. Davis, dated January 30, 2018.
26           9.      Attached as Exhibit 5 is a true and correct copy of the expert opposition report of
27    Zuffa’s expert Elizabeth Kroger Davis, dated October 27, 2017, redacted to remove personal
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1     identifiable information.
2            10.     Attached hereto as Exhibit 6 is a true and correct copy of the Expert Report of
3     Andrew Zimbalist dated August 30, 2017, redacted to remove personal identifiable information.
4            11.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts of the first
5     deposition of Andrew Zimbalist dated September 25, 2017.
6            12.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts of Herbert
7     Hovenkamp, Federal Antitrust Policy (2nd ed. 1999).
8            13.     Attached hereto as Exhibit 9 is a true and correct copy of the Errata to the Expert
9     Report of Andrew Zimbalist dated September 19, 2017.
10           14.     Attached hereto as Exhibit 10 is a true and correct copy of the Expert Rebuttal
11    Report of Andrew Zimbalist dated December 26, 2017.
12           15.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts of Daniel
13    Rubinfeld, Research Handbook on the Economics of Antitrust Law dated November 21, 2009.
14           16.     Attached hereto as Exhibit 12 is a true and correct copy of excerpts of Phillip
15    Areeda, Herbert Hovenkamp, Roger D. Blair, & Christine Piette Durrance, Antitrust Law (4th ed.
16    2014), Volume IIA.
17           17.     Attached hereto as Exhibit 13 is a true and correct copy of the Expert Report of
18    Roger D. Blair dated November 15, 2017, redacted to remove personal identifiable information.
19           18.     Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the second
20    deposition of Andrew Zimbalist dated January 26, 2018.
21           19.     Attached hereto as Exhibit 15 is a true and correct copy of Andrew Zimbalist,
22    There’s more than meets the eye in determining players’ salary shares, Sports Business Journal,
23    dated March 10, 2008.
24           20.     Attached hereto as Exhibit 16 is a true and correct copy of GBP000001 (Golden
25    Boy Promotions Profit & Loss - 2015).
26           21.     Attached hereto as Exhibit 17 is a true and correct copy of GBP000002 (Golden
27    Boy Promotions Profit & Loss - 2016).
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1            22.     Attached hereto as Exhibit 18 is a true and correct copy of Exhibit 3 to the
2     Sbardellati Declaration filed in support of Defendants’ Motion in Limine to Exclude Testimony of
3     Gene Deetz in Golden Boy Promotions LLC v. Haymon, Case No. 15-cv-3378, ECF No. 322-14
4     (Jan. 6, 2017), identified as backup to Table 2 in the Expert Report of Andrew Zimbalist and Table
5     2-E in the Errata to the Expert Report of Andrew Zimbalist.
6            23.     Attached hereto as Exhibit 19 is a true and correct copy of an Order, ECF No. 457,
7     issued in In re Google Play Store Antitrust Litigation, No. 20-cv-5761 (N.D. Cal.), on September
8     13, 2023.
9            24.     Attached hereto as Exhibit 20 is a true and correct copy of an April 24, 2023 Letter
10    issued by the United States Supreme Court.
11           25.     Attached hereto as Exhibit 21 is a true and correct copy of the Expert Report of
12    Robert H. Topel, dated October 27, 2017.
13           26.     Attached hereto as Exhibit 22 is a true and correct copy of Robert H. Topel’s Reply
14    to the Supplemental Expert Report of Hal J. Singer, dated May 7, 2018.
15           27.     Attached hereto as Exhibit 23 is a true and correct copy of the Expert Report of
16    Paul Oyer, dated October 27, 2017.
17           28.     Attached hereto as Exhibit 24 is a true and correct copy of the Expert Report of Hal
18    J. Singer, dated Aug. 31, 2017. This exhibit has redactions due to the clawback of the redacted
19    information by non-party Deutsche Bank on the basis of privilege. See ECF No. 727.
20           29.     Attached hereto as Exhibit 25 is a true and correct copy of the Supplemental Expert
21    Report of Hal J. Singer, dated April 3, 2018.
22           30.     Attached hereto as Exhibit 26 is a true and correct copy of excerpts of the first
23    deposition of Hal J. Singer, dated September 27, 2017.
24           31.     Attached hereto as Exhibit 27 is a true and correct copy of the Declaration of
25    Gregory K. Leonard, dated December 1, 2023.
26           32.     Attached hereto as Exhibit 28 is a true and correct copy of online search results of
27    SCImago Journal & Country Rank,
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1     https://www.scimagojr.com/journalsearch.php?q=journal+of+business+and+economics (last
2     visited November 30, 2023).
3            33.     Attached hereto as Exhibit 29 is a true and correct copy of WorldCat’s online
4     library-listing search results for the Journal of Business and Economics (last visited Dec. 1,
5     2023), https://search.worldcat.org/title/953673111.
6            34.     Attached hereto as Exhibit 30 is a true and correct copy of the FAQ section of the
7     Academic Star Publishing webpage (last visited Nov. 30, 2023),
8     http://www.academicstar.us/ArticleShow.asp?ArtID=378.
9

10           I declare under penalty of perjury under the laws of the United States of America that the
11    foregoing facts are true and correct. Executed this 8th day of December 2023 in Washington, D.C.
12

13                                                          /s/ William A. Isaacson
                                                                William A. Isaacson
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      ISAACSON DECL. ISO ZUFFA’S REN. MOTIONS                    Case No.: 2:15-cv-01045-RFB-(BNW)
      TO EXCLUDE PLAINTIFFS’ EXPERTS
